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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


HENRY RUBY,

                       Plaintiff,
                                                             CIVIL ACTION
       v.                                                    NO. 18-cv-00400

DISH NETWORK, LLC,

                       Defendant.


                                          ORDER

       AND NOW, this 15th day of May 2018, upon consideration of Benjamen E. Kern,

Esquire’s Motion for Pro Hac Vice Admission to appear on behalf of Defendant (Doc. No. 12), it

is ORDERED that the Motion for Pro Hac Vice Admission (Doc. No. 12) is GRANTED.



                                                  BY THE COURT:



                                                  /s/ Joel H. Slomsky, J.
                                                  JOEL H. SLOMSKY, J.
